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CENTRE DISTRICT OF CALIFORNIA
iN
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF AMERICA,

Plaintiff, )CASENO. | 0~ 3086

V.

GERARD BUecans

Defendant.

ORDER OF DETENTION

 

 

I.
A. (9) On motion of the Government in a case allegedly involving: -

1. () acrime of violence. |

2. (.)  anoffense with maximum sentence of life imprisonment or death.

3, Ve) a narcotics or controlled substance offense with maximum sentence
of ten or more years .

4.(.) any felony - where the defendant has been convicted of two or more
prior offenses described above.

5. ( ) any felony that is not otherwise a crime of violence that involves a
minor victim, or possession or use of a firearm or destructive device
or any other dangerous weapon, or a failure to register under 18
U.S.C § 2250.

B.{~) On motion by the Government / (_) on Court’s own motion, in a case

 

ORDER OF DETENTION AFTER HEARING (18 U.S.C, §3142(i))

 

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allegedly involving: |

(Q On the further allegation by the Government of:
1. (x) a serious risk that the defendant will flee.
2. (.)  aserious risk that the defendant will:

a.( ) obstruct or attempt to obstruct justice.

b.( ) threaten, injure, or intimidate a prospective witness or juror or

attempt to do so.
C. The Government wo) is/ (_) is not entitled to a rebuttable presumption that no

condition or combination of conditions will reasonably assure the defendant’s

appearance as required and the safety of any person or the community.

Il.
A.(.) The Court finds that no condition or combination of conditions will
reasonably assure: | |
dL. () _ the appearance of the defendant as required.
() and/or
-2. (.) the safety of any person or the community. .
B.() The Court finds that the defendant has not rebutted by sufficient

evidence to the contrary the presumption provided by statute.

I.
The Court has considered:
A. the nature and circumstances of the offense(s) charged, including whether the
offense is a crime of violence, a Federal crime of terrorism, or involves a minor
victim or a controlled substance, firearm, explosive, or destructive device;

B. the weight of evidence against the defendant;

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the history and characteristics of the defendant; and

D. the nature and seriousness of the danger to any person or to the community.

 

 

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IV.
The Court also has considered all the evidence adduced at the hearing and the

arguments and/or statements of counsel, and the Pretrial Services

Report/recommendation.

V.
The Court bases the foregoing finding(s) on the following:
A. &) As to flight risk: |

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B. 44) As to danger:
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VI.
A.(.) The Court finds that a serious risk exists that the defendant will:
1.( ) obstruct or attempt to obstruct justice.

2.( ) attempt to/(_ ) threaten, injure or intimidate a witness or juror.

 

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B. The Court bases the foregoing finding(s) on the following:

. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
. IT IS FURTHER ORDERED that the defendant be committed to the custody

. IT IS FURTHER ORDERED that the defendant be afforded reasonable

. IT IS FURTHER ORDERED that, on order of a Court of the United States

|
DATED: Plidio

VII.

of the Attorney General for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.
opportunity for private consultation with counsel.

or on request of any attorney for the Government, the person in charge of the
corrections facility in which the defendant is confined deliver the defendant
to a United States marshal for the purpose of an appearance in connection

with a court proceeding.

 

 

 

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